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            Exhibit B
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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

SMARTMATIC USA CORP., et al.,

                   Plaintiffs,                       No. 1:21-cv-02900-CJN
       v.

HERRING NETWORKS, INC.,                              Magistrate Judge Moxila A. Upadhyaya

                   Defendant.


               DECLARATION OF CAITLIN A. KOVACS IN SUPPORT OF
                 PLAINTIFFS’ MOTION FOR PROTECTIVE ORDER

       I, Caitlin A. Kovacs, make this declaration pursuant to 28 U.S.C. § 1746. I hereby declare

under penalty of perjury that the following is true and correct:

       1.      I am an attorney at Benesch, Friedlander, Coplan & Aronoff LLP and counsel for

Plaintiffs Smartmatic USA Corp., Smartmatic International Holding B.V., and SGO Corporation

(collectively, “Smartmatic”) in this action. As such, I am fully familiar with the facts and

circumstances of the matters stated in this declaration.

       2.      On May 31, 2023, Defendant Herring Networks, Inc. (d/b/a “OANN”) served its

Second Set of Requests for Production. Attached hereto as Exhibit B.1 is a true and correct copy

of Defendant’s Second Set of Requests for Production (“RFPs”).

       3.      On June 16, 2023 during a meet and confer between counsel for Smartmatic and

counsel for OANN, my co-counsel Olivia Sullivan informed counsel for OANN that Smartmatic

would be moving for a protective order regarding OANN’s Second Set of RFPs unless OANN

agreed to withdraw them.
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        4.         On June 21, 2023, Ms. Sullivan sent a letter to counsel for OANN which detailed

Smartmatic’s basis for requiring a protective order. The letter pointed to several specific examples

of duplicative requests for production within OANN’s Second Set of RFPs.

        5.         On June 22, 2023, I, along with Ms. Sullivan, met again with counsel for OANN to

discuss Smartmatic’s letter and OANN’s Second Set of RFPs.

        6.         During the June 22 meet and confer, counsel for OANN stated that its requests for

production were not duplicative, and suggested that Smartmatic should fully respond to its Second

Set of RFPs, issuing individual objections to each request. In response, I explained why responding

to each request individually would result in an undue burden on Smartmatic. Counsel for OANN

agreed to review its Second Set of RFPs and come back with a proposal for narrowing its RFPs to

reduce any duplication it found.

        7.         Counsel for OANN sent its proposal to narrow the Second Set of RFPs on June

27th. The letter conditionally proposed eliminating approximately 270 of the over 1500 requests

from its Second Set of RFPs, but only if Smartmatic agreed to lift objections on OANN’s First Set

of RFPSs, re-open search term negotiations, and re-open the discussion of the relevant time frame

for certain topics.

        8.         On June 28, 2023, I informed counsel for OANN that its proposal did not

sufficiently address the undue burden imposed by its requests, and that Smartmatic would be

moving forward with its motion for a protective order.

        9.         Despite our attempts, the parties have been unable to reach an amicable resolution

of this dispute.

        I declare under penalty of perjury that the foregoing is true and correct.
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Date: July 7, 2023



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                                   Smartmatic International Holding B.V., and
                                   SGO Corporation Limited
